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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF INDIANA
                                HAMMOND DIVISION

TAMARA RACHEL SCOTT,                             )
                                Plaintiff,       )
                                                 )
                      v.                         )         Case No. 2:16-cv-00114
                                                 )
OSCAR MARTINEZ, in his official capacity         )
as SHERIFF OF LAKE COUNTY, et al.,               )
                            Defendants.          )

                MOTION FOR LEAVE TO WITHDRAW APPEARANCE

      Attorney Joseph F. Spitzzeri, pursuant to Local Rule 83-8(c), respectfully moves this

Court for the entry of an order granting him leave to withdraw his Appearance for

Defendants, Correctional Health Indiana, Inc., William Forgey, Robert M. Ehresman, and

Kumpol Dennison, and in support thereof, respectfully states as follows.

      1.     On December 3, 2018, Attorney Heather Gilbert, of the law of firm of

Cassiday Schade LLP, filed her Appearance [DE 144] on behalf Defendants, Correctional

Health Indiana, Inc., William Forgey, Robert M. Ehresman, and Kumpol Dennison, and

will continue to represent such Defendants in this case.

      2.     Attorney Spitzzeri requests, pursuant to Local Rule 83-8(c), that this Court

grant leave for the withdrawal of his Appearance on behalf of Defendants, Correctional

Health Indiana, Inc., William Forgey, Robert M. Ehresman, and Kumpol Dennison.

      WHEREFORE, Attorney Joseph F. Spitzzeri, respectfully requests that this Court

enter an order withdrawing his Appearance on behalf of Defendants, Correctional Health

Indiana, Inc., William Forgey, Robert M. Ehresman, and Kumpol Dennison.




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                                             Respectfully Submitted:
                                             /s/ Joseph F. Spitzzeri
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                              CERTIFICATE OF SERVICE
       I certify that on December 6, 2018, a copy of this document was filed electronically
using this Court’s ECF System. Notice of this filing will be sent by e-mail to all ECF-
registered counsel by operation of this Court’s ECF System, that is:
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                                             /s/ Joseph F. Spitzzeri




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